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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                    Case No. 3:19-md-2885
EARPLUG PRODUCTS LIABILITY
LITIGATION
                                         Judge M. Casey Rodgers
This Document Relates to:                Magistrate Judge Gary R. Jones

All Wave 1 Cases Listed on Attached
Exhibit B


  PLAINTIFFS’ LEADERSHIP’S MOTION FOR OMNIBUS FILING ON
    BEHALF OF WAVE 1 REMAND PLAINTIFFS FOR SUMMARY
    JUDGMENT ON 3M COMPANY’S FULL AND INDEPENDENT
           LIABILITY FOR CAEv2-RELATED INJURIES
      Plaintiffs’ Court-Appointed Lead and Co-Lead Counsel hereby move this

Court for entry of an Omnibus Motion for Summary Judgment on 3M Company’s

Successor Liability for CAEV2 Injuries (“MSJ”) to be filed in all Wave 1 Remand

cases. The MSJ is attached hereto as Exhibit A. The list of active Wave 1 Remand

cases is attached hereto as Exhibit B.
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DATED: October 4, 2022          By /s/ Bryan F. Aylstock
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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      I hereby certify that pursuant to Local Rule 7.1(B), Plaintiffs reached out to

Defendants during scheduled meet-and-confer calls on September 21, 2022, with

Special Master Herndon and on September 27, 2022, with Special Master Theis.

They are opposed to this Motion for Omnibus Filing on Behalf of All Wave 1

Plaintiffs for Summary Judgment on 3M Company’s Full and Independent Liability

for CAEv2-Related Injuries.

                        CERTIFICATE OF SERVICE

      I hereby certify that on October 4, 2022, I caused a copy of the foregoing to

be filed through the Court’s CM/ECF system, which will serve all counsel of

record.

                                             /s/ Bryan F. Aylstock




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